                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:13-cr-00293-MOC-DCK

                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                                           )
Vs.                                        )                      ORDER
                                           )
JASON HILL,                                )
                                           )
                Defendant.                 )




         THIS MATTER is before the court on defendant’s Motion to Continue. Having

considered defendant’s motion and reviewed the pleadings, the court enters the following

Order.

                                        ORDER

         IT IS, THEREFORE, ORDERED that defendant’s Motion to Continue (#24) is

GRANTED, this matter is continued to the next criminal term, and the court finds the

delay caused by such continuance shall be excluded in accordance with 18 U.S.C. §

3161(h)(7)(B)(iv), as failure to grant such a continuance would deny counsel for the

defendant the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.     Further, the ends of justice served by granting such

continuance outweigh the best interests of the public and the defendant in a speedy trial.

Specifically, defendant and counsel have shown a need for additional time to review

discovery and other materials in preparing for trial or other resolution of this matter. In




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particular, counsel for defendant was delayed in returning the discovery agreement due to

other professional obligations before this court and the court finds that the interests of

justice require additional time for defendant to prepare for trial or another resolution of

this matter. This matter is continued to the March 2014 term, and the time is excluded.



        Signed: 1/17/2014




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